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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No.: 1:16-cv-1804-MJW

   FLAVIE BONDEH BAGOUE, and those similarly situated

          Plaintiff,

                                                   v.

   DEVELOPMENTAL PATHWAYS, INC.
   CONTINUUM OF COLORADO, INC.

         Defendants.
   ______________________________________________________________________________

                     ANSWER TO FIRST AMENDED COMPLAINT
   ______________________________________________________________________________

          Defendants Developmental Pathways, Inc. and Continuum of Colorado, Inc., by and

   through their undersigned counsel, submits their Answer to the First Amended Complaint

   (“Complaint”) upon information and belief as follows:

                               AS TO JURISDICTION AND VENUE

          1.      As their response to paragraph 1, Defendants admit that this Court has subject

   matter jurisdiction over the federal law claims, and jurisdiction over any remaining claims to the

   extent they form part of the same case or controversy as the federal question.

          2.      As their response to paragraph 2, Defendants admit that venue is properly before

   this Court.

                                       AS TO THE PARTIES

          3.      Admit the allegations contained in paragraph 3 of the Complaint.

          4.      Admit the allegations contained in paragraph 4 of the Complaint.
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                               AS TO THE STATEMENT OF FACTS

   A.        In Response to “Ms. Bagoue’s Work” Allegations

             5.    Deny the allegations contained in paragraph 5 of the Complaint, except admit

   Plaintiff was employed by Continuum of Colorado, Inc. (“Continuum”).

             6.    Deny the allegations contained in paragraph 6 of the Complaint, except admit that

   Plaintiff was employed by Continuum at its Nevada Group Home for developmentally disabled

   adults.

             7.    Deny the allegations contained in paragraph 7 of the Complaint, except admit

   Plaintiff worked for Continuum during the relevant time period.

             8.    Deny the allegations contained in paragraph 8 of the Complaint, except admit

   Plaintiff was scheduled to work various shifts throughout her tenure as an employee of

   Continuum.

             9.    Deny the allegations contained in paragraph 9 of the Complaint, except admit that

   while on duty at both Nevada Group Home and other facilities, Plaintiff provided care to

   residents with developmental, cognitive and/or physical disabilities.

             10.   Deny the allegations contained in paragraph 10 of the Complaint, except that

   Plaintiff received training necessary to serve the residents.

             11.   Deny knowledge or information sufficient to form a belief as to the truth of the

   allegations contained in paragraphs 11 of the Complaint.

             12.   Deny the allegations contained in paragraph 12 of the Complaint.

   B.        In Response to “The Continuous Shift Policy” Allegations

             13.   As paragraph 13 of the Complaint only sets out legal assertions, no response is

   required and none is proffered.



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          14.     Deny the allegations contained in paragraph 14 of the Complaint, except admit

   they have a policy whereby its residents are provided with all necessary and appropriate

   coverage.

          15.     Deny the allegation contained in paragraph 15, except admit that employees are

   continuously present at the facility.

          16.     Deny the allegations contained in paragraph 16 of the Complaint except admit

   that workers are relieved as appropriate by other workers.

          17.     Deny knowledge or information sufficient to form a belief as to the truth of the

   allegations set forth in paragraph 17 of the Complaint.

          18.     Deny the allegations set fort in paragraph 18 of the Complaint.

          19.     Deny the allegations contained in paragraph 19 of the Complaint, except admit

   the workers do not permanently reside in the group homes where they work.

          20.     Admit the allegations contained in paragraph 20 of the Complaint.

          21.     Deny the allegations contained in paragraph 21 of the Complaint, except admit

   that employees are present in the Nevada Group Home for discrete periods of time.

          22.     Deny the allegations contained in paragraph 22 of the Complaint, except admit

   that Defendants operate several group homes and employ more than three employees.

          23.     Deny the allegations contained in paragraph 23 of the Complaint, except admit

   that in the multiple homes operated by Defendants, there are multiple workers at the same time.

          24.     Deny the allegations contained in paragraph 24 of the Complaint, except admit

   that in the multiple homes operated by Defendants, within the relevant statute of limitations,

   there have been more than 50 workers.

          25.     Deny the allegations set forth in paragraph 25 of the Complaint, except admit



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   Plaintiff was employed by Defendants and generally worked weekends.

          26.     Deny the allegations set forth in paragraph 26 of the Complaint, except admit

   Plaintiff was employed by Defendants and generally worked weekends.

          27.     Deny the allegations set forth in paragraph 27 of the Complaint.

          28.     Deny the allegations contained in paragraph 28 of the Complaint, except admit

   Plaintiff periodically worked differing shifts.

          29.     Deny the allegations contained in paragraph 29 of the Complaint, except admit

   employees were paid for hours worked.

          30.     Deny the allegations contained in paragraph 30 of the Complaint.

   C.     In Response to “Continuous Shift Work: Constantly On Call, Never Relieved of
          Duties” Allegations.

          31.     Deny the allegations contained in paragraph 31 of the Complaint.

          32.     Deny the allegations contained in paragraph 32 of the Complaint, except admit

   that Plaintiff and other employees are with the residents during the day, helping them with

   daytime activities, cooking, eating, providing them with attention, and giving them medication.

          33.     Admit the allegations in paragraph 33.

          34.     Deny the allegations contained in paragraph 34 of the Complaint, except that at

   the beginning of their shift, Plaintiff and other employees meet with other personnel to discuss

   the happenings of the day and to pass along information.

          35.     Deny the allegations contained in paragraph 35 of the Complaint, except that at

   the end of their shift, Plaintiff and other employees meet with other personnel to discuss the

   happenings of the day and to pass along information.

          36.     Deny the allegations contained in paragraph 36 of the Complaint.

          37.     Admit that only one employee is normally assigned overnight as their response to


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   the allegations contained in paragraph 37.

          38.     Deny the allegations contained in paragraph 38 of the Complaint, except admit

   that while on duty Plaintiff was responsible for being present and vigilant in supervising the

   residents.

          39.     Deny the allegations contained in paragraph 39 of the Complaint, except admit

   that while on duty Plaintiff was responsible for being present and vigilant in supervising the

   residents.

          40.     Deny the allegations contained in paragraph 40 of the Complaint, except admit

   that while on duty Plaintiff was responsible for being present and vigilant in supervising the

   residents.

          41.     Deny the allegations contained in paragraph 41 of the Complaint, except admits

   that residential facility employees are essential as stated in the Employee Guidebook.

          42.     Deny the allegations contained in paragraph 42 of the Complaint.

          43.     Deny the allegations contained in paragraph 43 of the Complaint.

          44.     Admit the allegation contained in paragraph 44 of the Complaint.

          45.     Deny the allegations contained in paragraph 45 of the Complaint.

          46.     Deny the allegations contained in paragraph 46 of the Complaint, except admit

   group home residents require supervision.

   D.     In Response to “The Continuous Shift Workers’ Duties in the Middle of the Night”
          Allegations.

          47.     Deny the allegations contained in paragraph 47 of the Complaint, except admit

   that it is necessary for trained staff members to be present at all times to assure that the residents

   are safe and that their needs are met.

          48.     Deny the allegations contained in paragraph 48 of the Complaint, except admit


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   that it is necessary for trained staff members to be present at all times to assure that the residents

   are safe and that their needs are met.

          49.     Deny the allegations contained in paragraph 49 of the Complaint, except admit

   that it is necessary for trained staff members to be present at all times to assure that the residents

   are safe and that their needs are met.

          50.     Deny the allegations contained in paragraph 50 of the Complaint, except admit

   that it is necessary for trained staff members to be present at all times to assure that the residents

   are safe and that their needs are met.

          51.     Deny the allegations contained in paragraph 51 of the Complaint, except admit

   that it is necessary for trained staff to monitor residents’ movements and bodily functions such as

   bowel movements for medical purposes.

          52.     Deny the allegations contained in paragraph 52 of the Complaint, except admit

   that it is necessary for trained staff to monitor residents’ movements and bodily functions such as

   bowel movements for medical purposes.

          53.     Deny the allegations contained in paragraph 53 of the Complaint, except admit

   that it is necessary for trained staff to monitor residents’ movements and bodily functions such as

   bowel movements for medical purposes.

          54.     Deny the allegations contained in paragraph 54 of the Complaint, except deny

   knowledge or information sufficient to form an opinion as to the truth of Plaintiff’s allegations

   regarding the hallway light.

          55.     Deny the allegations contained in paragraph 55 of the Complaint, except deny

   knowledge or information sufficient to form an opinion as to the truth of Plaintiff’s allegations

   regarding residents late night and early morning duties.



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          56.     Deny the allegations contained in paragraph 56 of the Complaint, except admit

   that when Plaintiff was at work, she was required to work except for when she was on a sleep

   break. The remainder of the allegations is denied.

          57.     Deny knowledge or information sufficient to form an opinion as to the truth of the

   allegations contained in paragraphs 57.

          58.     Deny knowledge or information sufficient to form an opinion as to the truth of the

   allegations contained in paragraph 58 of the Complaint.

          59.     Deny knowledge or information sufficient to form an opinion as to the truth of the

   allegations contained in paragraph 59 of the Complaint, except admit that it always pays worker

   for time spent helping residents.

          60.     Admit the allegation contained in paragraph 60 of the Complaint and

   affirmatively state that when that Saturday fell in the springtime, where the clocks were set ahead

   one hour, the residents would effectively be awakened one hour earlier and that when that

   Saturday fell in the fall, and the clocks were set back one hour, the residents would effectively be

   awakened one hour later.

          61.     Admit the allegation contained in paragraph 61 of the Complaint and

   affirmatively state that when that Saturday fell in the springtime, where the clocks were set ahead

   one hour, the residents would effectively be awakened one hour earlier and that when that

   Saturday fell in the fall, and the clocks were set back one hour, the residents would effectively be

   awakened one hour later.

          62.     Deny the allegations contained in paragraph 62 of the Complaint.

          63.     Deny the allegations contained in paragraphs 63 of the Complaint.

          64.     Deny the allegations contained in paragraphs 64 of the Complaint.



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          65.     Deny the allegations contained in paragraphs 65 of the Complaint.

   E.     In Response to “Inadequate Sleeping Facilities” Allegations

        66.       Deny the allegations contained in paragraph 66 of the Complaint.

        67.       Deny the allegations contained in paragraph 66 of the Complaint.

        68.       Deny the allegations contained in paragraph 67 of the Complaint, except admit

   there are no recreational amenities in the Nevada Group Home employee sleeping quarters.

        69.       Deny the allegations contained in paragraph 69, except admit that the room in

   which Plaintiff sleeps also functions as an office, and the room is used for sleeping by other

   employees during their overnight shifts.

        70.       Deny the allegations contained in paragraph 70 of the Complaint, except admit

   the room is used for sleeping by other employees during their overnight shifts.

        71.       Deny the allegations contained in paragraph 71 of the Complaint, except admit

   the lights in the hallway are kept on for the safety of the residents.

        72.       Deny knowledge or information sufficient to form an opinion as to the truth of

   the allegations contained in paragraph 72 of the Complaint.

        73.       Deny knowledge or information sufficient to form an opinion as to the truth of the

   allegations contained in paragraph 73 of the Complaint.

        74.       Deny knowledge or information sufficient to form an opinion as to the truth of the

   allegations contained in paragraph 74 of the Complaint.

   F.     In Response to the “Defendants Deducted Sleep Time Without Any Agreement With
          Ms. Bagoue About the Deduction” Allegations

        75.       Deny the allegations contained in paragraph 75 of the Complaint, and aver that

   Plaintiff and all employees are paid for all time worked.

        76.       Deny the allegations contained in paragraph 76 of the Complaint, except admit

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   there was no written agreement concerning compensation for sleep time.

         77.       Deny the allegations contained in paragraph 77 of the Complaint, except admit

   there was no written agreement concerning compensation for sleep time.

         78.       Deny the allegations contained in paragraph 78 of the Complaint, except admit

   there was no written agreement concerning compensation for sleep time.

         79.       Deny the allegations contained in paragraph 79 of the Complaint, except admit

   there was no written agreement concerning compensation for sleep time.

         80.       Deny the allegations contained in paragraph 80 of the Complaint.

         81.       Deny the allegations contained in paragraph 81 of the Complaint.

   G.      In response to “The Same Policy Exists For Other Workers at Nevada Group Home
           and at Other Homes Operated by Defendants” Allegations

         82.       Deny knowledge or information sufficient to form a belief as to the truth of the

   allegations contained in paragraph 82 of the Complaint.

         83.       Deny the allegations contained in paragraph 83 of the Complaint.

         84.       Deny the allegations contained in paragraph 84 of the Complaint, except deny

   knowledge or information sufficient to form an opinion as to the truth of the allegations

   regarding Plaintiff’s ability to return to sleep.

         85.       Deny knowledge or information sufficient to form a belief as to the truth of the

   allegations contained in paragraph 85 of the Complaint.

         86.       Deny knowledge or information sufficient to form a belief as to the truth of the

   allegations contained in paragraph 86 of the Complaint.

         87.       Deny the allegations contained in paragraph 87 of the Complaint.

         88.       Admit the allegations contained in paragraph 88 of the Complaint.

         89.       Deny the allegations contained in paragraph 89 of the Complaint.

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        90.      Deny the allegations contained in paragraph 90 of the Complaint.

        91.      Deny the allegations contained in paragraph 91 of the Complaint, except admit

   Continuum of Colorado and Developmental Pathways have offices in some of the same

   buildings.

        92.      Deny the allegations contained in paragraph 92 of the Complaint.

        93.      Deny the allegations contained in paragraph 93 of the Complaint, except admit

   that Developmental Pathways authored memorandum to Plaintiff.

        94.      Deny the allegations contained in paragraph 94 of the Complaint, except admit

   that Continuum of Colorado’s employee policies were jointly produced with Developmental

   Pathways.

                              AS TO THE RULE 23 ALLEGATIONS

        95.      Deny that they engaged in any wrongdoing as their response to the allegations

   contained in paragraph 95 of the Complaint, except admit Plaintiff purports to proceed as alleged

   therein.

        96.      Deny that they engaged in any wrongdoing as their response to the allegations

   contained in paragraph 96 of the Complaint, except admit Plaintiff purports to proceed as alleged

   therein.

        97.      Deny that they engaged in any wrongdoing as their response to the allegations

   contained in paragraph 97 of the Complaint, except admit Plaintiff purports to proceed as alleged

   therein.

     AS TO ALL PERSONS EMPLOYED BY DEFENDANTS WHO WERE SUBJECT TO
                 THE CONTINUOUS SHIFT POLICY ALLEGATIONS

        98.      Deny the allegations contained in paragraph 98 of the Complaint, except deny

   knowledge or information sufficient to form a belief as to the truth of the allegations regarding


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   knowledge of the alleged class size.

        99.          Deny the allegations contained in paragraph 99 of the Complaint.

        100.         Deny the allegations contained in paragraph 100 of the Complaint.

        101.         Deny the allegations contained in paragraph 101 of the Complaint.

        102.         Deny the allegations contained in paragraph 102 of the Complaint.

        103.         Deny the allegations contained in paragraph 103 of the Complaint,

        104.         Deny knowledge or information sufficient to form a belief as to the truth of the

   allegations contained in paragraph 104 of the Complaint.

        105.         Deny the allegations contained in paragraph 105 of the Complaint.

        106.         Deny knowledge or information sufficient to form a belief as to the truth of the

   allegations contained in paragraph 106 of the Complaint.

        107.         Deny knowledge or information sufficient to form a belief as to the truth of the

   allegations contained in paragraph 107 of the Complaint.

        108.         Deny knowledge or information sufficient to form a belief as to the truth of the

   allegations contained in paragraph 108 of the Complaint.

        109.         Deny the allegations contained in paragraph 109 of the Complaint.

           AS TO THE 29 U.S.C. § 216 (B) COLLECTIVE ACTION ALLEGATIONS

        110.         Deny that they engaged in any wrongdoing as their response to the allegations

   contained in paragraph 110 of the Complaint, except admit Plaintiff purports to proceed as

   alleged therein.

        111.         Deny that they engaged in any wrongdoing as their response to the allegations

   contained in paragraph 111 of the Complaint, except admit Plaintiff purports to proceed as

   alleged therein



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        112.      Deny that they engaged in any wrongdoing as their response to the allegations

   contained in paragraph 112 of the Complaint, except admit Plaintiff purports to proceed as

   alleged therein.

    AS TO ALL PERSONS EMPLOYED BY DEFENDANTS WHO WERE SUBJECT TO THE
                         CONTINUOUS SHIFT POLICY

        113.      Deny the allegations contained in paragraph 113 of the Complaint.

       IN RESPONSE TO THE FIRST COUNT FOR UNPAID STRAIGHT TIME AND
      OVERTIME PURSUANT TO THE COLORADO WAGE CLAIM ACT AND THE
      COLORADO MINIMUM WAGE ACT AND WAGE ORDER, C.R.S. §§ 8-4-101, ET
                       SEQ; 8-6-101, ET SEQ.; 7CCR 1103-1

          114.    Deny that they engaged in any wrongdoing as their response to the allegations

   contained in paragraph 114 of the Complaint, except admit Plaintiff purports to proceed as

   alleged therein.

          115.    Deny the allegations contained in paragraph 115 of the Complaint.

          116.    Deny the allegations contained in paragraph 116 of the Complaint, except admit

   Plaintiff was an employee of Contiuum of Colorado.

          117.    Deny the allegations contained in paragraph 117 of the Complaint.

          118.    Deny the allegations contained in paragraph 118 of the Complaint.

          119.    Admit the allegations contained in paragraph 119 of the Complaint.

          120.    Deny that they engaged in any wrongdoing as their response to the allegations

   contained in paragraph 120 of the Complaint, except admit Plaintiff purports to proceed as

   alleged therein.

          121.    Deny the allegations contained in paragraphs 121 of the Complaint.

   IN RESPONSE TO THE SECOND COUNT: FAIR LABOR STANDARDS ACT

          122.    Deny that they engaged in any wrongdoing as their response to the allegations

   contained in paragraph 122 of the Complaint, except admit Plaintiff purports to proceed as

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   alleged therein.

          123.    Deny the allegations contained in paragraph 123 of the Complaint, except admit

   Continuum of Colorado operates multiple facilities and employs more than two employees.

          124.    Deny the allegations contained in paragraph 124 of the Complaint, except admit

   they are covered enterprises as defined by the Fair Labor Standards Act.

          125.    Deny the allegations contained in paragraph 125 of the Complaint, except admit

   they are covered enterprises as defined by the Fair Labor Starndards Act.

          126.    Deny the allegations contained in paragraph 126 of the Complaint, except admit

   Plaintiff was an employee of Continuum of Colorado.

          127.    Deny the allegations contained in paragraph 127 of the Complaint, except admit

   Plaintiff was an employee of Continuum of Colorado.

          128.    Deny the allegations contained in paragraph 128 of the Complaint, except admit

   Plaintiff was an employee of Continuum of Colorado and that both Continuum of Colorado and

   Developmental Pathways have employees.

          129.    Deny the allegations contained in paragraph 129 of the Complaint.

          130.    Deny the allegations contained in paragraph 130 of the Complaint.

          131.    Deny the allegations contained in paragraph131 of the Complaint.

          132.    Deny the allegations contained in paragraph132 of the Complaint.

                        IN RESPONSE TO THE THIRD COUNT: EQUITY

          133.    Deny the allegations contained in paragraph133 of the Complaint, except admit

   Plaintiff purports to proceed as alleged therein.

          134.    Deny the allegations contained in paragraph134 of the Complaint.

          135.    Deny the allegations contained in paragraph135 of the Complaint.



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                    IN RESPONSE TO PLAINTIFF’S DEMAND FOR A JURY TRIAL
                                  AND PRAYER FOR RELIEF

             136.    Deny the allegations set forth in paragraph 136 of the Complaint including its

   subparts and aver that they have not engaged in any actions such as to entitle Plaintiff or any

   putative class members to damages as alleged therein.

                                       AFFIRMATIVE DEFENSES

             Subject to proof through discovery, Defendants assert that the following are affirmative

   defenses warranting dismissal of Plaintiff and the putative class members claims:


                                    FIRST AFFIRMATIVE DEFENSE

             137.    Plaintiff and the putative class members’ Complaint fails to state a claim against

   Defendants upon which relief can be granted.


                                  SECOND AFFIRMATIVE DEFENSE

             138.    Upon information and belief, Plaintiff and the putative class members’ injuries

   and damages, if any, are barred or reduced as a result of the Plaintiffs and the putative class

   members’ failure to mitigate their damages.

                                   THIRD AFFIRMATIVE DEFENSE

             139.    Defendant at all times has acted in good faith and not in contravention of any of

   Plaintiff’s and the putative class members’ clearly established federally and locally protected

   rights.

                                  FOURTH AFFIRMATIVE DEFENSE

             140.    Plaintiff and the putative class members are not entitled to attorney fees, and costs

   of this action and Plaintiff’s and the putative class members’ prayer for the same should be

   denied.


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                                 FIFTH AFFIRMATIVE DEFENSE

          141.    Defendants were not joint employers at any point relevant to Plaintiff’s or the

   putative class members allegations.

                                 SIXTH AFFIRMATIVE DEFENSE

          142.    Defendant did not willfully and with intent deprive Plaintiff and the putative class

   members of any compensation owed to them under the provisions of the Fair Labor Standards

   Act, the Colorado Minimum Wage Act, the Colorado Wage Order, or the Colorado Wage Claim

   Act.

                               SEVENTH AFFIRMATIVE DEFENSE

          143.    Defendants at all times acted in good faith and with reasonable grounds for its

   belief that Plaintiff and the putative class members were being paid in accord with the Fair Labor

   Standards Act and all Colorado laws and that it did not violate any applicable statute.


                               EIGHTH AFFIRMATIVE DEFENSE

          144.    Plaintiff and the putative class members did not work hours in excess of forty

   hours per workweek, and to the extent they did they were properly compensated for all hours

   worked.

                                NINTH AFFIRMATIVE DEFENSE

          145.    All or part of the time for which Plaintiff and the putative class members seek

   compensation in this action does not constitute compensable working time.


                                TENTH AFFIRMATIVE DEFENSE

          146.    Plaintiff and the putative class members have been paid for all compensable time

   that they worked consistent with 29 CFR 758.22, the Fair Labor Standards Act, and all

   applicable Colorado laws.

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                              ELEVENTH AFFIRMATIVE DEFENSE

           147.    Defendants are entitled to a credit/set-off for any compensation paid to Plaintiff

   and the putative class members to which they were not otherwise entitled.

                               TWELFTH AFFIRMATIVE DEFENSE

           148.    Plaintiff and the putative class members’ Complaint fails to state a claim against

   Defendant upon which liquidated damages can be awarded.

                             THIRTEENTH AFFIRMATIVE DEFENSE

           149.    Plaintiff and the putative class members’ Complaint fails to state a claim against

   Defendant upon which pre-judgment interest can be awarded.

                            FOURTEENTH AFFIRMATIVE DEFENSE

           150.    Plaintiff and the putative class members’ Complaint is barred, in whole or in part,

   by the applicable statute of limitations.

                              FIFTEENTH AFFIRMATIVE DEFENSE

           151.    Assuming, arguendo, that Plaintiff and the putative class members are entitled to

   additional compensation, Defendants have not willfully or intentionally failed to pay any such

   additional compensation to Plaintiff and the putative class members, to justify any awards or

   penalties or fees.

                              SIXTEENTH AFFIRMATIVE DEFENSE

           152.    This suit may not be properly maintained as a class action because: (1) Plaintiffs

   have failed to plead, and cannot establish the necessary procedural elements for class treatment;

   (2) a class action is not a fair and efficient adjudication of the claims described in the Complaint;

   (3) common issues of fact or law do not predominate; to the contrary, individual issues

   predominate; (4) Plaintiff’s claims are not representative or typical of the claims of the putative



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   class; (5) Plaintiff is not a proper class representatives; (6) the named Plaintiff and alleged

   putative class counsel are not adequate representatives for the alleged putative class; (7) Plaintiff

   cannot satisfy any of the requirements for class action treatment, and class action treatment is

   neither appropriate nor constitutional; (8) there is not a well-defined community of interest in the

   questions of law or fact affecting Plaintiff and the members of the alleged putative class; (9) the

   alleged putative class is not ascertainable, nor are its members identifiable.

                               SEVENTEENTH AFFIRMATIVE DEFENSE

           153.       If the Court certifies a class in this case over Defendants’ objections, then

   Defendants assert the affirmative defenses set forth herein against each and every member of the

   certified class.

                                EIGHTEENTH AFFIRMATIVE DEFENSE

           154.       The adjudication of the claims of the putative class through generalized class-

   wide proof violates Defendants’ right to trial by jury.

                                NINETEENTH AFFIRMATIVE DEFENSE

           155.       Plaintiff’s damages, if any, may be reduced by the amount of any and all

   payments received from a collateral source.

                                 TWENTIETH AFFIRMATIVE DEFENSE

           156.       Defendants are exempt from the Colorado Minimum Wage Orders pursuant to the

   March 6, 1998 Special Wage Order.

                               TWENTY-FIRST AFFIRMATIVE DEFENSE

           157.       Plaintiff was at all times provided with adequate sleeping facilities.

                             TWENTY-SECOND AFFIRMATIVE DEFENSE

           158.       Plaintiff was at all times an at-will employee whose conduct constituted an



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   implied agreement to work as directed by the employer.

                           TWENTY-THIRD AFFIRMATIVE DEFENSE

          159.    Any time spent performing duties prior to the beginning of her scheduled shift or

   immediately after the conclusion of her work shift was de minimis and therefore not

   compensable.

                          TWENTY-FOURTH AFFIRMATIVE DEFENSE

          160.    Any time spent performing duties prior to the beginning of her scheduled shift or

   immediately after the conclusion of her work shift was subject to permissible rounding pursuant

   to 29 CFR 785.48(b).

                           TWENTY-FIFTH AFFIRMATIVE DEFENSE

          161.    Any time spent preparing to perform her duties or immediately after the

   conclusion of her work shift was preliminary or postliminary time as defined by the Portal to

   Portal Act, 29 U.S.C. 9, et seq. and therefore not compensable.

                        RESERVATION OF RIGHT TO AMEND ANSWER

          162.    Defendants state they do not presently know all facts concerning the conduct of

   Plaintiff and the putative class and their claims sufficient to state all affirmative defenses at this

   time. Defendants will seek leave of this Court to amend this Answer should it later discover

   facts demonstrative the existence of additional affirmative defenses.

          WHEREFORE, the Defendants demands judgment against the Plaintiff by dismissing the

   Complaint together with costs and disbursements.




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   DATED: Denver, Colorado
          October 23, 2017.

                                     /s/ Scott D. Sweeney
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                                    CERTIFICATE OF SERVICE

          I hereby certify that on this 23rd day of October 2017, a true and correct copy of the
   foregoing was filed with the Clerk of the United States District Court using the CM/ECF system,
   and served to the following:


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